            Case 2:20-cv-01863-ACA Document 1 Filed 11/23/20 Page 1 of 11                                                                                        FILED
                                                                                                                                               2020 Nov-23 PM 12:13
                                                                                                                                               U.S. DISTRICT COURT
                                                                                                                                                   N.D. OF ALABAMA
fr<! Se 7 fRev. 10/16).Comp.laint for EmpJQvment Discriminalion


                                            United States District Court
                                                 for the
                                     NORTHERN DISTRICT OF ALABAMA
Ladika,                                                                           }                                                 'l
                                                                                                                                   ,·,:_
                                                                                                                                        _, i              . 'I

                                                                                                                                           ................ .
                                                                                                                                                    '       '

                                Plaintiff.                                        }
(Write your f1.11l name. No more than one plai11tiff niay be named in a prose     }
complaint)                                                                        }

                                                                                  }

                                                                                                  ~ ;j_{) ti.A/ f f'13 - 00/t
                                                                                  }
v.                                                                                }   Case No.:
                                                                                  }                (to be filled in by the Clerk's Offlce)
                                                                                  }
                                                                                  }   JURY TRIAL [i;!"'Yes                    D       No
                                                                                  }
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                                                                                  }
/v~    i   Ch 0 e \        MC. f I     u' " '      ·-::s-"~'/ \)c,_.fp_:;,)
                                                               t    I             }
                            Defendands/                                           }
(Write the f1.11J name of each defendant who is being sued. If the names ofall
defendants cannot fit it1 the space above, please write ..see attached·· in the   }
space and attach an additional page with the full list ofnames)                   }



                                COMPLAINT FOR EMPLOYMENT DISCRIMINATION

I.          The Parties to This Complaint
            A.        The Plaintiff
                       Name
                      Street Address
                      City and County
                      State and Zip Code
                      Telephone Number
                      E-mail Address (ifknown)                          /,:;n. J,-,,_07C'kcnn~v &11alwo. <'O/Vl
                                                                                                   T        I
                       D          Check here to receive electronic notice through the e-mail listed above. By
                                  checking this box, tbe undersigned consents to electronic service and waives
                                  tbe right to personal service by first class mail pursuant to Federal Rule of
                                  Civil Procedure 5(b)(2), except with regard to service of a summons and
                                  complaint. The Notice of Electronic Filing will allow one free look at the
                                  document, and any attached PDF may be printed and saved.



Date
                                                    (~~
                                                      ~----- -Page 1of7
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P._rg_:?e 7 J&v. l 0/161 Complaint for Emplo)l!Jl.~IJ!J;;U.¥-:.flpuna~·
                                                                    ~'~'o~"-~··~··~~-


II.        Basis for Jurisdiction
           B.         The Defendant(s)
                      Provide the information below for each defendant named in the complaint,
                      whether the defendant is an individual, a government agency, an organization or a
                      corporation. For an individual defendant, include the person's job or title (if
                      known). Attach additional pages if needed.

                      Defendant No. 1
                                  Name                                           Daoo v f.or r
                                 Job or Title (if known)                        r.:'t'     /~u/,/, J)Ynr: J /l/h, n"/
                                                                                         !'fl.Ison
                                 Street Address                                 YI . 1chc, d ,4,..-;;¥'.1:. 5r 13/vc/ /Uvl-A.
                                 City and County                                f3;/'/TJ1/ljflC/?'1 ;            _)t?   /'/Jr~o/]
                                 State and Zip Code                               M             3!5,,:;;   os
                                 Telephone Number
                                 E-mail Address (if known)

                      Defendant No. 2
                                 Name
                                 Job or Title (if known)                          D~n.               D ().
                                 Street Address
                                 City and County
                                 State and Zip Code
                                 Telephone Number
                                 E-mail Address (if known)                      robt'//.s :J,f",
                                                                                              J
                                                                                                 ere! orj
                      Defendant No. 3
                                 Name
                                 Job or Title (if known)                         V1cf;         1Vl   Strv1fe.,   t'oorJn4fo,-
                                 Street Address                                lo1 lc/1/i(-d !lronjk,,, -::;/ pl.-c/                )..lurl/1
                                 City and County                               ; ) , / tJ'l ,,1 j /?,; m ::St /ff/..s.o n
                                 State and Zip Code
                                 Telephone Number
                                 E-mail Address (if known}
                                                                                           7         )



                                                                Page 2 of7
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~1    l&ev_.   lQ~l§.LG_9_!ll__p!iW'!_tJ9rJ}mployment Discrimjnatjon



                      Defendant No. 4
                                  Name
                                                                                           I
                                  Job or Title (if known)                       unknown
                                  Street Address
                                  City and County
                                  State and Zip Code
                                  Telephone Number
                                  E-mail Address (if known)
        C.            Place of Employment
                      The address at which I sought employment or was employed by the defendant(s)
                      is:
                                  Name
                                 Street Address
                                 City and County
                                 State and Zip Code
                                 Telephone Number
II.     Basis for Jurisdiction
        This action is brought for discrimination in employment pursuant to (check all that
        apply):
        ~            Title VII of the Civil Rights Act of 1964, as codified, 42 U.S.C. §§ 2000e to
                      2000e-17 (race color, gender, religion, national origin).
                      (Note: In order to bring suit in federal district court under Title VII, you must
                      first obtain a Notice of Right to Sue Jetter from the Equal Employment
                      Opportunity Commission.)
        D            Age Discrimination in Employment Act of 1967, as codified, 29 U.S.C. §§ 621 to
                     634.
                      (Note:         In order to bring suit in federal district court under the Age
                     Discrimination in Employment Act, you must first file a charge with the Equal
                     Employment Opportunity Commission.)




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       0      Americans with Disabilities Act of 1990, as codified, 42 U.S.C. §§ 12112 to
               12117.
               (Note: In order to bring suit in federal district court under the Americans with
              Disabilities Act, you must first obtain a Notice of Right to Sue Jetter from the
              Equal Employment Opportunity Commission.)
       0      Other federal law (specify the federal Jaw):


              Relevant state law (specify, ifknown):


              Relevant city or county law (specify, if known):
III.   Statement of Claim
       Write a short and plain statement of the claim. Do not make legal arguments. State as
       briefly as possible the facts showing that plaintiff is entitled to the damages or other relief
       sought. State how each defendant was involved and what each defendant did that caused
       the plaintiff harm or violated the plaintiff's rights, including the dates and places of that
       involvement or conduct. If more than one claim is asserted, number each claim and write
       a short and plain statement of each claim in a separate paragraph. Attach additional pages
       if needed.
       A.     The discriminatory conduct of which I complain in this action includes (check all
              that apply):
              0         Failure to hire me

              W         Termination of my employment

              0         Failure to promote me
              D         Failure to accommodate my disability

               ~        Unequal terms and conditions of my employment

              ff        Retaliation

              0         Other acts ( s p e c i f y ) : - - - - - - - - - - - - - - - - - - -
                        (Note: Only those grounds raised in the charge filed with the Equal
                        Employment Opportunity Commission can be considered by the federal
                        district court under the federal employment discrimination statutes.)




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B.   It is my best recollection that the alleged discriminatory acts occurred on date(s):
      j_,_Pkmberd2_j
         ,           . ./cJl9    )
                                              f.o     A~rC.iL l?,c/0~6    )




C.   I believe that defendant(s) (check one}:
      D        is/are still committing these acts against me

     D         is/are not still committing these acts against me
D.   Defendant(s) discriminated against me based on my (check all that apply and
     explain):
     ~         race
     g         color

     ef        gender/sex

     D         religion

     D         national origin

     D         age (year of birth)
                                       (only when asserting a claim of age discrimination)
     D         disability or perceived disability (specilj disability)_ _ _ _ _ _ __


E.   The facts of my case are as follows. Attach additional pages if needed.              6 'n c e_
      Se\>\emker-;3,,                O/Dllf   ':I v..<:':> horc,::,·,,eJ           d.·;c1,,..,., nc-kcl
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      \'0c..\ ~       ,....\ J,;r \.-e J -
     (Note: As additional support for the facts of your claim, you may attach to this
     complaint a copy of your charge filed with the Equal Employment Opportunity
     Commission, or the charge filed with the relevant state or city human rights
     division.)


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IV.     Exhaustion of Federal Administrative Remedies
        A.       It is my best recollection that I filed a charge with the Equal Employment
                 Opportunity Commission or my Equal Employment Opportunity counselor
                 regarding the defendant's alleged discriminatory conduct on {date): _ _ _ __
                     .s eµ\er1\be1            ,,20 1 9
        B.       The Equal Employment Opportunity Commission (check one):
                        has not issued a Notice of Right to Sue letter
                        issued a Notice of Right to Sue letter, which I received on (date): _ _ __
                                     ~ e)? krn. ber              I / ,,pc:bJO
                        (Note: Attach a copy of the Notice of Right to Sue Jetter from the Equal
                        Employment Opportunity Commission to this complaint.)
        C.       Only litigants alleging age discrimination must answer this question:
                 Since filing my charge of age discrimination with the Equal Employment
                 Opportunity Commission regarding the defendant's alleged discriminatory
                 conduct (check one):
                 D      60 days or more have elapsed
                 D      less than 60 days have elapsed
V.      Relief




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Pro Se 7 !fu.Y..-1O/l6) CmnplaID._t fQ[ Employment DiscriminatiQn_


VI.        Certification and Closing
           Under Rule 11 of the Federal Rules of Civil Procedure, by signing below, I certify to the
           best of my knowledge, information, and belief that this complaint: ( 1) is not being
           presented for an improper purpose, such as to harass, cause unnecessary delay, or
           needlessly increase the cost of litigation: (2) is supported by existing law or by a
           nonfrivolous argument for extending, modifying, or reversing existing law; (3) the factual
           contentions have evidentiary support or, if specifically so identified, will likely have
           evidentiary support after a reasonable opportunity for further investigation or discovery:
           and (4) the complaint otherwise complies with the requirements of Rule 11.
          A.          For Parties Without an Attorney

                      I agree to provide the Clerk's Office with any changes to my address where case-
                      related papers may be served. I understand that my failure to keep a current
                      address on file with the Clerk's Office may result in the dismissal of my case.


                      Date of Signing:         __,__/-'-/-'-~-==7'--"3'--/c"'-S;?--"o=----



          B.         For Attorneys

                      Date of S i g n i n g : - - - - - - - - - -



                     Signature of A t t o r n e y : - - - - - - - - - - - - - - - - - - -
                      Printed Name of A t t o r n e y : - - - - - - - - - - - - - - - - - -
                     Bar Number: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

                     Name of Law F i r m : - - - - - - - - - - - - - - - - - - - -

                     Street A d d r e s s : - - - - - - - - - - - - - - - - - - - - - -

                     State and Zip C o d e : - - - - - - - - - - - - - - - - - - -

                     Telephone N u m b e r : - - - - - - - - - - - - - - - - - - - -

                     E-mail A d d r e s s : - - - - - - - - - - - - - - - - - - - - - -


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 EEOC Form 161 {11/16)                    U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION

                                                  DISMISSAL AND NOTICE OF RIGHTS
To: Lanilra F. Jeter                                                                   From: Blnningham District Office
        1916 Live Oak Trace                                                                     Ridge Park Place
        Birmingham, AL 35235                                                                    1130 22nd Street South
                                                                                                Birmingham, AL 35205



      D                      On behalf of person(s) aggrieved whose identity is
                             CONFIDENTIAL (29 CFR §1601.7(a))
 EEOC Charge No.                             EEOC Representative                                                     Telephone No.
                                                 MICHAEL COCHRAN,
420-2020-00512                                   Investigator                                                        (205) 651-7047
THE EEOC IS CLOSING ITS FILE ON THIS CHARGE FOR THE FOLLOWING REASON:
      D           The facts alleged in the charge fail to state a claim under any of the statutes enforced by the EEOC.


      D           Your allegations did not involve a disabifity as defined by the Americans With Disabilities Acl.


      D           The Respondent employs less than the required number of employees or is not otherwise covered by the statutes.

      D           Your charge was not timely filed with EEOC; in other words, you waited too long alter the date(s) of the alleged
                  discrimination to file your charge
      [K]         The EEOC issues the following determination: Based upon its investigation, the EEOC is unable to conclude that the
                  information obtained establishes violations of the statutes. This does not certify that the respondent is in compliance with
                  the statutes. No finding is made as to any other issues that might be construed as having been raised by this charge.
      D           The EEOC has adopted the findings of the state or local fair employment practices agency that investigated this charge.

      D           Other (briefly state)



                                                         • NOTICE OF SUIT RIGHTS •
                                                    (See the addiUonal information attached to this form.)

Title VII, the Americans with Dlsabllltles Act, the Genetic Information Nondiscrimination Act, or the Age
Discrimination In Employment Act: This will be the only notice of dismissal and of your right to sue that we will send you.
You may file a lawsu~ against the respondent(s) under federal law based on this charge in federal or state court. Your
lawsuit must be filed WITHIN 90 DAYS of your receipt of this notice; or your right to sue based on this charge will be
lost. (The time limit for filing suit based on a claim under state law may be dttferent.)

Equal Pay Act (EPA): EPA suits must be filed in federal or slate court wilhin 2 years (3 years for willful violations) of the
alleged EPA underpayment. This means that backpay due for any violations that occurred more than 2 years 13 yearsl
before you file suit may not be collectible.

                                                                     On behalf of the Commission                         SEP 0 1 2DZO
                                                                                                             FOR
Enclosures(s)                                                                                                              (Date Mailed)
                                                              BRADLEY A. ANDERSON,
                                                                 District Director
cc:
            OFFICE OF THE DISTRICT ATTORNEY
            c/o Danny Carr
            District Attorney
            801 Richard Arrington Jr. Blvd. North
            Birmingham, AL ~203
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EEOC Form 5 (11/09)

                                                                                                                             Agency(ies) Charge
                      CHARGE OF DISCRIMINATION                                             Charge Presented To:
                                                                                                                             No(s):
       This form is affected by the Privacy Act of 1974. See enclosed Privacy Act
              Statement and other information before completing this form.
                                                                                               D FEPA
                                                                                               !Kl EEOC                        420-2020-00512
                                                                           null                                                           and EEOC
                                                               State or focal Agency, if any
Name (1nd1cate Mr., Ms., Mrs.)                                                                                                          Year of Birth

MS. LANITRA F JETER
Street Address                                                         City, State and ZIP Code

                                         BIRMINGHAM, AL 35235

Named is the Employer, Labor Organization, Employment Agency, Apprenticeship Committee. or State or Local Government Agency
That I Believe Discriminated Against Me or Others. (If more than two, list under PARTICULARS below.)
Name                                                                                                No Employees. Members             Phone No.

THE DISTRICT ATTORNEY OFFICE                                                                                                    (205) 325-5252
Street Address                                                         City, State and ZIP Code

801 RICHARD ARRINGTON JR. BOULEVARD NORTH, BIRMINGHAM, AL 35203

Name                                                                                                No. Employees. Members            Phone No.



Street Address                                                         City, State and ZIP Code




DISCRIMINATION BASED ON {Check appropriate box(es))                                                         DATE(S) DISCR1MINATION TOOK PLACE
                                                                                                                  Earliest             Latest
 00      RACE         D    COLOR         D     SEX      D      RELIGION     D       NATIONAL ORIGIN           03-16-2020              03-16-2020
   00        RETALIATION         D       AGE   D     DISABILITY        D      GENETIC INFORMATION
              D        OTHER (Specify)                                                                             D         CONTINUING ACTION

THE PARTICULARS ARE (If additional paper is needed. attach extra sheet(S)):
 See attached document for charge particulars.

 In addition, I believe that I was discharged on March 16, 2020, because of my race (African-American)
 and in retaliation for my complaints to the employer, in violation of Title VII of the Civil Rights Act of
 1964, as amended.




I want this charge filed with both the EEOC and the State or local Agency,          NOTARY - When necessary for State and Local Agency Requiren1ents
if any. I will advise the agencies if I change my address or phone number
and I will cooperate fully with them in the processing of my charge in
accordance with their procedures.                                                   I swear or affirm that I have read the above charge and that it
I declare under penalty of perjury that the above is true and correct.              is true to the best of my knowledge, information and belief.
                                                                                    SIGNATURE OF COMPLAINANT



   Digitally signed by L.anitra Jeter on 04-03-2020 04:26 PM                        SUBSCRIBED AND SWORN TO BEFORE ME THIS DATE
                                EDT                                                 (n1onth, day, year)
           Case 2:20-cv-01863-ACA Document 1 Filed 11/23/20 Page 10 of 11




  March 20, 2020
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                                                                                               ;
  La Nitta Jeter



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    -                             -




  Tue Office of The District Attorney Office
  carrd@jccal.mg
  801 Richard Arrington Jr. Blvd North
  Binningham, AL 35203
  (205) 325-5252


  Date oflncident: September 23, 2019


  RE: Case 420-2020-00512


  To Whom it May Concern,

         I want to tile a charge of discrimination against The District Attorney Office of Danny
  Carr. While employed under the District Attorney I was the only J\f.rican American Victim
  Service Officer in the office, and l was treated very differently than my Caucasian coworkers. I
  experienced discrimination based on race, color, religion and retaliation on a constant basis. I
  was harassed by my Supervisor Judy Yates in various ways off and ou during my employment.
  Having to deal with the discrimination caused me to have increased anxiety, depression, suicidal
  thoughts and isolation from some coworkers.
           On September 23, 2019, I was informed by my supervisor Judy Yates that I was no
  longer allowed to accrue comp time a.~ my feBow coworker• did. I asked why, but no reason was
  given at that time. I advised Ms. Yates that I had a doctor's appointment that afternoon that I
  could not miss. I was informed by Ms. Yates thal I would need to bring an excuse hack lo the
  office in order to go to my appointment. I followed the directions given to me and brought an
  excuse hack to Ms. Yates.
           I later met with Ms. Judy Yates and Michael McCurry in reference to me being
  prohibited from accruing comp time/6.t the meeting I was advised I am no longer allowed to
  receive comp tin1e because it appeared as soon a.5 I accrued the comp time, I utilized it for
  whatever reason and other employees, within the office, had noticed. I asked, "ifl have
  legitimately accmed comp time and it is available to me 10 use why am I being penalized for
  using it?" l received no answer from either party. I advised both Judy and Michael that IllY
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husband has medical issues which sometimes prohibits him from driving so I roust take him to
his appointments. I myself have a medical issue I am tiying to rectify with my provider along
vvith upcoming court dates. I attempted to explain the circumstances to Michael McCurry and
Judy Yates but was advised it is my business the reason> I use my comp time. After becoming
very frustrated and upset I went back to r:ny office unable to accrue comp time with no legitimate
reason given. Ille other four Caucasian victim service officers in the office could accrue comp
time and leave the office for hair appointments, because it gets dark outs.idc and other reasons
with no consequences.
        During the time I could not accrue comp time I missed several doctor's appointments that
I needed to go to. My husband missed doctor's appointments as well. On November 12, 2019 I
met with Judy Yates and informed her that I needed to have my comp time reinstated. l advised
her that my husband has an upcoming surgery and I did not have any time accrued for bis
procedure or if an emergency arose and I needed to be off After being prohjbited to accrue comp
time for over a month's time Judy Yates granted my request but with restrictions. I was only
allowed to come into the office from 7:30am to 4:30pm, whereas another officer, who is
Cauca5ian, could come into the office from 7:00am to 4:30pm and accme additional comp time.
        I emailed a complaint to the Assistant District Attorney, Joe Roberts, with no resolution.
Joe Roberts infom1ed me to follow the chain of con.unand and to only utilize the Assistant and
District Attorney after that has been done. l followed the chain ofconunand as instructed and
discussed my issues and concenis with my Supervisor. A fow days later I came to work, and a
cut out of a large black rat had been placed on my name place by my officer door. Tbis upset me
tremendously and I took a photo of the image. I asked my coworkers who placed the rat on my
name plate but received no response. The black rat remained on my name plate for weeks and
was eventually removed by an unknown individual. I was being called a black rat a'i retaliation
and harassment because I submitted a complaint against my supervisor to her supervisor.
        I have endured discriminated against me in my otlice because lam African American, I
reported my supervisor for misconduct and l reported inaccuracies of my supervisor. I have been
stripped of employment privileges, constantly harassed by management and forced to work in a
hostile environment. I 'm sure I left out pertinent infonnation and details so If you have
additional que~iioru; or need additional information I can be reached at                  and




                                                                                               =-
